                                     Exhibit 1

                                 Proposed Order




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                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN

                                                  )
In re                                             ) Chapter 9
                                                  )
CITY OF DETROIT, MICHIGAN,                        ) Case No. 13-53846
                                                  )
                           Debtor.                ) Hon. Steven W. Rhodes
                                                  )

        ORDER GRANTING JOINT MOTION FOR ADJOURNMENT

        This matter having come before the Court on Syncora’s and the City’s Joint

Motion for Adjournment (the “Motion for Adjournment”), the Court having

reviewed the Motion for Adjournment, and the Court having determined that the

legal and factual bases set forth in the Motion for Adjournment establish just cause

for the relief granted herein;

        IT IS HEREBY ORDERED THAT:

        1.     The Motion for Adjournment is GRANTED;

        2.     The hearing on the City’s Plan of Adjustment is adjourned until

8:30 a.m. ET on September 12, 2014;

        3.     The terms and conditions of this Order shall be immediately effective

and enforceable upon its entry.

        4.     The Court retains jurisdiction with respect to all matters arising from

or related to the implementation of this Order.

        IT IS SO ORDERED.



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